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AO 9] (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America ) Case: 1:21-mj-00128
Vv. ) Assigned to: Judge Zia M. Faruqui
CHRISTOPHER M. KELLY ) Assign Date: 1/20/2021
P| ) Description: COMPLAINT W/ARREST WARRANT
)
)

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of January 6, 2021 in the county of in the
District of Columbia ____, the defendant(s) violated:
Code Section Offense Description
18 U.S.C § 1512(c)(2) Obstruction of an Official Proceeding
18 U.S.C. §2 Aiding and Abetting
18 U.S.C. § 1752(a)(1) and (2) Uniawful Entry to Restricted Building or Grounds

40 U.S.C. §§ 5104(e)(2)(D) and (G) Violent Entry and Disorderly Conduct

This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT

@ Continued on the attached sheet.

WMidvct

Cémplainant's signature

 

___....__ Michael Andretta, Special Agent
Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

 

 

Telephone (specify reliable electronic means).
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Date: __01/20/2021_ 7 YO 7:11 05°00
Judge 's signature
City and state: Washington, DC Zia M. Faruqui, U.S. Magistrate Judge

 

Printed name and title

 
